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 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

  Ashley M. McDow (245114)
  FOLEY & LARDNER LLP
  555 S. Flower St., 33rd Floor
  Los Angeles, CA 90071
  Telephone: 213.972.4500
  Facsimile: 213.486.0065
  Email: amcdow@foley.com



      Individual appearing without attorney
      Attorney for: [Proposed] Attorney for Debtors

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - Los Angeles Division                                   DIVISION

 In re:                                                                        LEAD CASE NO.: 2:19-bk-14989-WB
          Scoobeez,
                                                                               CHAPTER: 11
                                                                Debtor(s)
 ---------------------------------------------------------------------------   JOINTLY ADMINISTERED WITH:
         Scoobeez Global, Inc.,
 In re:                                                                        CASE NO.: 2:19-bk-14991-WB
         Scoobur, LLC,
                                                                               CASE NO.: 2:19-bk-14997-WB
                                                                               CASE NO.:

                                       Debtor(s)                               CASE NO.:
 _____________________________________________                                 CASE NO.:
                                                                                 See attached for additional Case Numbers


     Affects All Debtors

     Affects Scoobeez, ONLY                                                         NOTICE OF JOINT ADMINISTRATION
                                                                                     OF CASES AND REQUIREMENTS
     Affects Scoobeez Global, Inc., ONLY
                                                                                        FOR FILING DOCUMENTS
     Affects Scoobur, LLC, ONLY
                                                                                                      [LBR 1015-1]
     Affects

     See attached for additional Debtors

                                                               Debtor(s)                           [No Hearing Required]


TO: THE U.S. TRUSTEE AND ALL PARTIES IN THESE JOINTLY ADMINISTERED CASES: An order was entered on
(date) 05/13/2019     granting a motion to approve joint administration of cases pursuant to FRBP 1015 and LBR 1015-1,
under the lead case indicated in the caption of this notice.
1. Required Caption on Documents – All documents filed must contain a caption in substantially the same format and
   content as the caption of this notice.

2. Debtors Affected by a Filed Document – All documents filed must indicate, by checking appropriate boxes, the
   debtor or debtors affected by the filed document.

               This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

December 2014                                                        Page 1                  F 1015-1.1.NOTICE.JOINT.ADMINISTRATION
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3. Filing Documents on Main Case Docket – Unless indicated below in paragraph 4, all documents must be filed on
   the docket of the lead case indicated on the caption of this notice.

4. Filing Proof of Claims on Docket of Individual Case – Notwithstanding joint administration of these cases,
   creditors must file their respective proofs of claim as to the specific affected and applicable debtor using the case
   number and claim register for the specific affected and applicable debtor.

5. Parties to File a Request to be Added to Courtesy NEF – To facilitate notice and service of documents via Notice
   of Electronic Filing, all parties who previously electronically filed documents only in cases other than the lead case
   must promptly file in the lead case a Request to be Added to Courtesy Notice of Electronic Filings, using the court-
   approved form.

6. Other:




    Date: 05/15/2019                                                     By: /s/ Ashley M. McDow
                                                                                  Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

December 2014                                                  Page 2                     F 1015-1.1.NOTICE.JOINT.ADMINISTRATION
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                                               PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411




A true and correct copy of the foregoing document entitled (specify): NOTICE OF JOINT ADMINISTRATION OF CASES AND
REQUIREMENTS FOR FILING DOCUMENTS
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and
LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
05/15/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Alvin Mar alvin.mar@usdoj.gov
Ashley M McDow amcdow@foley.com, sgaeta@foley.com;Ffarivar@foley.com;swilson@foley.com
Rejoy Nalkara rejoy.nalkara@americaninfosource.com
Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 05/15/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no
later than 24 hours after the document is filed.
Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

                                                                       X Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                              , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on,
or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  05/15/2019                Sonia Gaeta                                        /s/ Sonia Gaeta
  Date                      Printed Name                                       Signature
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2. SERVED BY UNITED STATES MAIL:

Scoobeez                             Ashley M. McDow                       Accurate Background
3463 Foothill Blvd.                  Foley & Lardner LLP                   7515 Irvine Center Drive
Glendale,CA 91214                    555 S. Flower Street                  Irvine,CA 92618
                                     Suite 3300
                                     Los Angeles, CA 90071-2411


ADT Security Services                Alissa Guler                          Amazon
PO Box 371878                        c/o Albert G. Stoll, Jr.              1516 Second Avenue
Pittsburgh,PA 15250-7878             55 Francisco Street                   Seattle,WA 98101
                                     Suite 403
                                     San Francisco,CA 94133


Amazon Web Services Inc.             App Group International, LLC          Arturo Vega and Unta Key
440 Terry Ave N                      85 Broad Street, 17th Floor           c/o Eric K. Yaeckel
Seattle,WA 98109                     New York,NY 10004                     Sullivan Law Group, APC
                                                                           2330 Third Avenue
                                                                           San Diego,CA 92101


Asana                                AT&T Corp.                            Athens Services
1550 Bryant Street, Suite 800        c/o CT Corporation                    14048 E. Valley Blvd.
San Francisco,CA 94103               818 Seventh Street, Suite 930         La Puente,CA 91746
                                     Los Angeles,CA 90017



Avitus, Inc.                         Azad Baban                            Bernardo Parra
c/o David M. Wagner, Esq.            c/o Justin Silverman, Esq.            c/o Mancini Law Group, P.C.
Crowley Fleck, PLLP                  Reisner & King LLP                    7170 W. Grand Avenue
P.O. Box 10969                       14724 Ventura Blvd., Suite 1210       Elmwood Park,IL 60707
Bozeman,MT 59719                     Sherman Oaks,CA 91403


BMW Financial Services NA, LLC       Booster Fuels                         California Franchise Tax Board
Bankruptcy Servicer                  11 N. Ellsworth Avenue                Franchise Tax Board Bankr. Section
AIS Portfolio Servcies, LP           San Mateo,CA 94403                    PO Box 2952, MS:A-340
4515 N. Santa Fe Ave., Dept. APS                                           Sacramento,CA 95812-2952
Oklahoma City,OK 73118


City of Glendale Water & Power       Corporation Service Company           Crescenta Valley Water District
141 North Glendale Ave., Level 2     as Representative                     2700 Foothill Blvd.
Glendale,CA 91206                    PO Box 2576                           La Crescenta,CA 91214
                                     Springfield,IL 62708



CT Corporation System                De'Von Walker                         DSP Online Order
as Representative                    c/o David Yeremian & Associates, In   5825 Southwest Arctic Drive
330 N. Brand Blvd., Suite 700        535 N. Brand Blvd., Suite 705         Beaverton,OR 97005
Attn: SPRS                           Glendale,CA 91203
Glendale,CA 91203


Edvin Amzayan, c/o State of CA       Edvin Yegiyan, c/o State of CA        Enterprise Holdings, Inc.
Dept. of Industrial Relations        Dept. of Industrial Relations         600 Corporate Park Drive
Labor Commission Office              Labor Commission Office               Saint Louis,MO 63105
455 Golden Gate Ave., 10th Floor     455 Golden Gate Ave., 10th Floor
San Francisco,CA 94102               San Francisco,CA 94102


Fed Ex                               First Advantage                       First Insurance Funding
942 South Shady Grove Road           1 Concourse Parkway NE                450 Skokie Blvd., Ste. 1000
Memphis,TN 38120                     Suite 200                             Northbrook,IL 60062-7917
                                     Atlanta,GA 30328
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Fleetwash Inc.                       Global Results Communications         Google/G Suite Software
26 Law Drive                         201 East Sandpointe Avenue            1600 Amphitheatre Parkway
Fairfield,NJ 7004                    Suite 650                             Mountain View,CA 94043
                                     Santa Ana,CA 92707



GTR Source LLC                       Halo Branded Solutions                Hillair Capital Management LLC
1006 Monmouth Ave                    1500 Halo Way                         330 Primrose Road
Lakewood,NJ 8701                     Sterling,IL 61081                     Suite 660
                                                                           Burlingame,CA 94010



Hop Capital                          Imran Firoz                           Indeed, Inc.
323 Sunny Isles Blvd., Suite 501     c/o Brent Finch                       6433 Champion Grandview Way
Sunny Isles Beach,FL 33160           Brent Finch Law                       Building 1
                                     27200 Agoura Rd., Ste. 102            Austin,TX 78750
                                     Agoura Hills,CA 91301


Influx Capital LLC                   Internal Revenue Service              Jacob Lee DeGough
1049 Helen Avenue                    Centalized Insolvency Operation       c/o Glenn Law Firm
Santa Clara,CA 95051                 PO Box 7346                           1017 William D. Tate Ave.
                                     Philadelphia,PA 19101-7346            Suite 100
                                                                           Grapevine,TX 76051


Jassim M. Addal                      Liquid Web Inc.                       LiveAgent
c/o Law Office of Arash Alizadeh     2703 Ena Drive                        c/o Quality Unit, LLC
7545 Irvine Center Drive             Lansing,MI 48917                      616 Corporate Way, Suite 2-3278
Suite 200
Irvine,CA 92618                                                            Valley Cottage,NY 10989


Lockton Companies, LLC               Mail Chimp                            Maria Salgado
Attn: Nate Mundy, COO                c/o The Rocket Science Group, LLC     c/o Nicholas J. Tsakas, Esq.
Lockton Insurance Brokres, LLC       675 Ponce de Leon Ave. NE             4267 Marina City Drive
725 S. Figueroa, 35th Floor          Suite 5000                            Suite 512
Los Angeles,CA 90017                 Atlanta,GA 30308                      Marina Del Rey,CA 90292


Marwan Griffin                       Massinissa Bechout, c/o State of CA   Minas Sarafian
c/o Aegis Law Firm, PC               Dept. of Industrial Relations         c/o Simonian & Simonian, PLC
9811 Irvine Center Drive             Labor Commission Office               144 N. Glendale Ave., #228
Suite 100                            455 Golden Gate Ave., 10th Floor      Glendale,CA 91206
Irvine,CA 92618                      San Francisco,CA 94102


Mostafa Joharifard                   NexGen Capital, LLC                   Office of the Director
1651 E. Edinger Ave.                 c/o David Neale                       Department of Motor Vehicles
Suite 100                            Levene Neale Bender                   2415 1st Avenue, MS: F101
Santa Ana,CA 92705                   10250 Constellation Blvd., #1700      Sacramento,CA 95818-2606
                                     Los Angeles,CA 90067


Peter Rosenthal Irrevocable Trust    Pex Cards                             Premier Business Bank
dated 10/31/2012                     462 7th Avenue                        700 S. Flower Street, #2000
3450 N. Verdugo Rd.                  21st Floor                            Los Angeles,CA 90017
Glendale,CA 91208                    New York,NY 10018



Prince Uko, c/o State of CA          Queen Funding LLC                     Quickbooks
Dept. of Industrial Relations        2221 NE 164 ST                        c/o Intuit Inc.
Labor Commission Office              North Miami Beach,FL 33160            2700 Coast Avenue
455 Golden Gate Ave., 10th Floor                                           Mountain View,CA 94043
San Francisco,CA 94102
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Raef Lawson                           Rafael Nendel - Flores                Ready Refresh
8601 Lincoln Blvd.                    c/o LeClairRyan                       4400 S. Kolmar Ave.
Ste. 180-276                          725 S. Figueroa Street                Chicago,IL 60632
Los Angeles,CA 90045                  Suite 350
                                      Los Angeles,CA 90017


Ready Refresh (Foothill Location)     Ring Central                          Roy Castelanos
4400 S. Kolmar Ave.                   20 Davis Drive                        c/o Employees' Legal Advocates, LLP
Chicago,IL 60632                      Belmont,CA 94002                      811 Wilshire Blvd.
                                                                            Suite 800
                                                                            Los Angeles,CA 90017


Sean McNair                           Southern California Gas Company       Spectrum Business
c/o Hamed Yazdanpanah & Associates    PO Box 1626                           c/o Charter Communications
9454 Wilshire Blvd., 6th Floor        Monterey Park,CA 91754-8626           PO Box 790261
Beverly Hills,CA 90212                                                      Saint Louis,MO 63179



Steve & Millessa Oberhauser           SuperVision                           Swizznet
c/o Sanders Bajwa LLP                 PO Box 21636                          6075 California Avenue SW
919 Congress Ave., Suite 750          Saint Paul,MN 55121                   Seattle,WA 98136
Austin,TX 78701



T-Mobile/T-Mobile USA Inc.            Texas Department of Insurance         The Hertz Corporation
by American InfoSource as agent       Dividion of Workers' Compensation     Attn: Casey Rodriguez, Division VP
PO Box 248848                         7551 Metro Center Drive, Suite 100    2 Schoephoester Road
Oklahoma City,OK 73124                Austin,TX 78744                       Windsor Locks,CT 6096



UPS                                   US Securities and Exchange Commissi   USPS
55 Glenlake Parkway NE                Attn: Bankruptcy Counsel              475 Lenfant Plaza SW
Atlanta,GA 30328                      444 S. Flower St., Suite 900          Washington,DC 20260
                                      Los Angeles,CA 90071-9591



Verizon                               WG Fund LLC                           Amazon Logistics, Inc.
PO Box 489                            1734 8th Avenue                       Attn: General Counsel
Newark,NJ 07101-0489                  Suite PH                              410 Terry Avenue North
                                      Brooklyn,NY 11215                     Seattle,WA 98109-5210



Deputy General Counsel                Kirk Davis                            Salvador Rivas
The Hertz Corporation                 c/o Law Offices of Daniel A. Kaplan   c/o Law Offices of Daniel A. Kaplan
8501 Williams Rd., 2DO40              555 W. Beech St., Suite 230           555 W. Beech St., Suite 230
Estero,FL 33928                       San Diego,CA 92101                    San Diego,CA 92101



Scoobeez SD, LLC                      Shane R. Heskin                       Emil Davtyan
c/o Law Offices of Daniel A. Kaplan   White and Williams LLP                Davtyan Professional Law Corp.
555 W. Beech St., Suite 230           1650 Market Street                    21900 Burbank Blvd., Suite 300
San Diego,CA 92101                    One Liberty Place, Suite 1800         Woodland Hills,CA 91367
                                      Philadelphia,PA 19103-7395


Steven M. Spector                     Graham S.P. Hollis                    Corporation Service Company,
BUCHALTER, A Professional Corporati   Graham Hollis APC                     as Representative
1000 Wilshire Blvd., Suite 1500       3555 Fifth Avenue, Suite 200          801 Adlai Stevenson Drive
Los Angeles,CA 90017                  San Diego,CA 92103                    Springfield,IL 62703
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    Garo and Aroussiak Dekirmendjian                      Parkway Commercial Realty                                TACAL Properties LLC
    c/o Bulldog Commercial Real Estate                    Attn: Laurence & Patricia Cesander                       c/o Peloton Commercial Real Estate
    Attn: John Raudsep, President                         2485 E. Southlake Blvd.                                  PO Box 15039
    3634 Woodcliff                                        Southlake,TX 76092                                       San Antonio,TX 78212
    Sherman Oaks,CA 91403


    Scoobeez Global, Inc.                                 Scoobur LLC
    3463 Foothill Blvd.                                   3463 Foothill Blvd.
    Glendale,CA 91214                                     Glendale,CA 91214




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
0930-6261.1
